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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

                                                                            Chapter 11
    In re

    PATRIOT NATIONAL, INC., et al.,1                                        Case No. 18-10189 (KG)

                        Debtors.                                            (Jointly Administered)



    MICHELLE L. COLE, ANDREA SCARLETT and
    JESSICA BARAD, on their own behalf and on
    behalf of all other persons similarly situated,
                                                                            Adv. Pro. No. 18-50278 (KG)
                        Plaintiffs,

    v.

    PATRIOT NATIONAL, INC., et al.,

                        Defendant.


    PATRIOT NATIONAL, INC;
    PATRIOT CARE MANAGEMENT, LLC;
    PATRIOT RISK SERVICES, INC.; and
    PATRIOT UNDERWRITERS, INC.;
                                                                            Adv. Pro. No. 18-50297 (KG)
                        Debtors

    v.

    CAREWORKS MANAGED CARE SERVICES,
    INC., f/k/a MCMC, LLC and YORK RISK
    SERVICES GROUP

                        Defendants.


1
         The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtors’ federal tax identification
         number, are: Patriot National, Inc. (1376), Patriot Services, LLC (1695); TriGen Insurance Solutions, Inc.
         (2501); Patriot Captive Management, LLC (2341); Patriot Underwriters, Inc. (0045); TriGen Hospitality Group,
         Inc. (6557); Patriot Risk Consultants, LLC (0844); Patriot Audit Services, LLC (5793); Patriot Claim Services,
         Inc. (9147); Patriot Risk Services, Inc. (7189); Corporate Claims Management, Inc. (6760); CWIBenefits, Inc.
         (0204); Forza Lien, LLC (7153); Contego Investigative Services, Inc. (0330); Contego Services Group, LLC
         (0012); Patriot Care Management, LLC (2808); Radar Post-Closing Holding Company, Inc. (2049); Patriot
         Technology Solutions, LLC (6855); and Decision UR, LLC (1826). The Debtors’ headquarters are located at
         401 East Las Olas Boulevard, Suite 1650, Fort Lauderdale, Florida 33301.


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    CORPORATE CLAIMS MANAGEMENT, INC.,

                        Plaintiff,

    v.                                                                   Adv. Pro. No. 18-50307 (KG)

    MICHELLE SHAIPER AND BRENTWOOD
    SERVICES ADMINISTRATORS, INC.,

                        Defendants.

              NOTICE OF AGENDA FOR HEARING ON MAY 15, 2018, AT 2:00 P.M.
               (EASTERN TIME), BEFORE THE HONORABLE KEVIN GROSS AT
             THE UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF
                DELAWARE, LOCATED AT 824 NORTH MARKET STREET, 6TH
               FLOOR, COURTROOM NO. 3, WILMINGTON, DELAWARE 198012


RESOLVED MATTERS:

1.           PwC Retention Application: Debtors’ Application for Entry of an Order (I)
             Authorizing the Employment and Retention of PricewaterhouseCoopers LLP to Provide
             Tax Compliance Services Effective Nunc Pro Tunc to the Petition Date, (II) Waiving the
             Time-Keeping Requirements of Local Rule 2016-2, and (III) Granting Related Relief
             [Docket No. 566] [Filed: 4/3/18] (Docket No. 494).

             Response Deadline: April 27, 2018 at 4:00 p.m.

             Responses Received: None.

             Related Documents:

             a.       [Signed] Order (I) Authorizing the Employment and Retention of
                      PricewaterhouseCoopers LLP to Provide Tax Compliance Services Effective
                      Nunc Pro Tunc to the Petition Date, (II) Waiving the Time-Keeping Requirements
                      of Local Rule 2016-2, and (III) Granting Related Relief [Filed: 5/4/18] (Docket
                      No. 707).

             Status: The Court has entered an order on this matter.

2.           Removal Period Extension Motion: Debtors’ Motion for Order Extending the Period to
             Remove Actions Pursuant to 28 U.S.C. § 1452 and Federal Rule of Bankruptcy
             Procedure 9027 [Filed: 4/19/18] (Docket No. 606).


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         Any party who wishes to attend telephonically is required to make arrangements through CourtCall by
         telephone (866-582-6878) or by facsimile (866-533-2946).


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        Response Deadline: May 3, 2018 at 4:00 p.m.

        Responses Received: None.

        Related Documents:

        a.       [Signed] Order Extending the Period to Remove Actions Pursuant to 28 U.S.C. §
                 1452 and Federal Rule of Bankruptcy Procedure 9027 Through and Including
                 July 30, 2018 [Filed: 5/8/18] (Docket No. 715).

        Status: The Court has entered an order on this matter.

CONTINUED MATTERS:

3.      Motion to Compel: Central Florida Educators Federal Credit Union’s Motion to
        Compel Payment of Rent [Filed: 4/3/18] (Docket No. 492).

        Response Deadline: April 17, 2018 at 4:00 p.m. ET. (extended until May 1, 2018 at 4:00
        p.m.

        Responses Received: None as of the date of this Notice of Agenda.

        Related Documents:

        a.       [Proposed] Order on Central Florida Educators Federal Credit Union’s Motion to
                 Compel Payment of Rent [Filed: 4/3/18] (Docket No. 492).

        b.       Notice of Motion [Filed: 4/3/18] (Docket No. 492).

        Status: This matter is continued until June 13, 2018, at 11:00 a.m.

4.      TRO Motion: Motion for Temporary Restraining Order [Filed: 2/28/18] (Adv. Pro. No.
        18-50297, Docket No. 2).

        Response Deadline: March 9, 2018 at 12:00 p.m. ET.

        Responses Received: None as of the date of this Notice of Agenda.

        Related Documents:

        a.       Complaint for Injunctive Relief [Filed: 2/28/18] (Adv. Pro. No. 18-50297, Docket
                 No. 1).

        b.       Brief in Support of Motion for Temporary Restraining Order and Preliminary
                 Injunction [Filed: 2/28/18] (Adv. Pro. No. 18-50297, Docket No. 3).

        c.       Declaration of James S. Feltman in Support of Motion for Temporary Restraining
                 Order [Filed: 2/28/18] (Adv. Pro. No. 18-50297, Docket No. 4).



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        d.       [Signed] Order Granting Motion for Temporary Restraining Order [Filed:
                 2/28/18] (Adv. Pro. No. 18-50297, Docket No. 7).

        e.       Notice of Preliminary Injunction Hearing in Connections with Motion for
                 Temporary Restraining Order [Filed: 3/1/18] (Adv. Pro. No. 18-50297, Docket
                 No. 9).

        f.       Summons and Notice of Pretrial Conference in an Adversary Proceeding [Filed:
                 3/2/18] (Adv. Pro. No. 18-50297, Docket No. 10).

        g.       Certification of Counsel Regarding Order Approving Stipulation Extending Order
                 Regarding Debtors’ Motion for Temporary Restraining Order [Filed: 3/9/18]
                 (Adv. Pro. No. 18-50297, Docket No. 15).

        h.       Order Approving Stipulation Extending Order Regarding Debtors’ Motion for
                 Temporary Restraining Order [Filed: 3/9/18] (Adv. Pro. No. 18-50297, Docket
                 No. 16).

        i.       [Signed] Order Approving Stipulation Extending Order Regarding Debtors’
                 Motion for Temporary Restraining Order [Filed: 4/6/18] (Adv. Pro. No. 18-
                 50297, Docket No. 23).

        j.       [Signed] Order Approving Stipulation Extending Order Regarding Debtors’
                 Motion for Temporary Restraining Order [Filed: 5/4/18] (Adv. Pro. No. 18-
                 50297, Docket No. 37).

        Status: This matter is continued until June 13, 2018, at 11:00 a.m.

5.      Cure Disputes: Debtors’ Fourth Amended Joint Plan of Reorganization [Filed: 4/20/18]
        (Docket No. 632).

        Response Deadline: April 13, 2018, at 4:00 p.m. ET (extended until April 17, 2018 at
        12:00 p.m. for the Internal Revenue Service (the “IRS”) and April 20, 2018 at 5:00 p.m.
        for StarStone National).

        Cure Disputes:

        a.       Limited Objection of Certain AIG Members Companies to Debtors’ Third
                 Amended Joint Chapter 11 Plan of Reorganization [Filed: 4/20/18] (Docket No.
                 609).

        b.       Objection of Starstone National Insurance Company to Proposed Cure Amount
                 and Response to Plan of Reorganization [Filed: 4/20/18] (Docket No. 622).

        c.       Cigna’s Objection to Cure Amount Listed On Assumption Schedule in Plan
                 Supplement [Filed: 4/20/18] (Docket No. 640).




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        Plan Supplement:

        a.       Notice of Filing Plan Supplement [Filed: 3/30/18] (Docket No. 473).

        b.       Notice of Filing of Additional Exhibits to the Debtors’ Plan Supplement [Filed:
                 4/20/18] (Docket No. 641).

        c.       Notice of Filing of Additional Exhibits to the Debtors’ Plan Supplement [re:
                 Amended Assumption Schedule] [Filed: 4/20/18] (Docket No. 643).

        Related Documents:

        a.       [Signed] Findings of Fact, Conclusions of Law, and Order Confirming Fourth
                 Further Amended Joint Chapter 11 Plan of Reorganization [Filed: 5/4/18] (Docket
                 No. 705).

        Status: All remaining cure disputes have been adjourned until June 13, 2018, at
        11:00 a.m.

MATTERS GOING FORWARD:

6.      Cash Management Motion: Debtors’ Motion for Interim and Final Orders (I)
        Authorizing the Continued Use of Cash Management System, Bank Accounts and
        Business Forms, (II) Extending the Debtors’ Time to Comply With Section 345(b) of the
        Bankruptcy Code, (III) Approving Continuation of Ordinary Course Intercompany
        Transactions and (IV) Granting Related Relief [Filed: 1/30/18] (Docket No. 7).

        Response Deadline: April 17, 2018, at 4:00 p.m. ET

        Responses Received: Informal comments from the UST.

        a.       Receiver of Ullico Casualty Company In Liquidation’s Limited Objection to
                 Debtors’ Motion for Interim and Final Orders (I) Authorizing the Continued Use
                 of Cash Management System, Bank Accounts and Business Forms, (II) Extending
                 the Debtors’ Time to Comply With Section 345(b) of the Bankruptcy Code, (III)
                 Approving Continuation of Ordinary Course Intercompany Transactions and (IV)
                 Granting Related Relief [Filed: 2/21/18] (Docket No. 138).

        b.       Omnibus Reservation of Rights of the Official Committee of Unsecured Creditors
                 [Filed: 2/26/18] (Docket No. 164).

        c.       Receiver of Ullico Casualty Company In Liquidation’s Reservation of Rights and
                 Supplemental Objection to Debtors’ Motion for Interim and Final Orders (I)
                 Authorizing the Continued Use of Cash Management System, Bank Accounts and
                 Business Forms, (II) Extending the Debtors’ Time to Comply With Section
                 345(b) of the Bankruptcy Code, (III) Approving Continuation of Ordinary Course
                 Intercompany Transactions and (IV) Granting Related Relief [Filed: 4/2/18]
                 (Docket No. 483).



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        Related Documents:

        a.       [Proposed] Final Order (I) Authorizing the Continued Use of Cash Management
                 System, Bank Accounts and Business Forms, (II) Extending the Debtors’ Time to
                 Comply With Section 345(b) of the Bankruptcy Code, (III) Approving
                 Continuation of Ordinary Course Intercompany Transactions and (IV) Granting
                 Related Relief [Filed: 1/30/18] (Docket No. 7, Exhibit B).

        b.       [Signed] Interim Order (I) Authorizing the Continued Use of Cash Management
                 System, Bank Accounts and Business Forms, (II) Extending the Debtors’ Time to
                 Comply With Section 345(b) of the Bankruptcy Code, (III) Approving
                 Continuation of Ordinary Course Intercompany Transactions and (IV) Granting
                 Related Relief [Filed: 2/1/18] (Docket No. 50).

        c.       Declaration of James S. Feltman, Chief Restructuring Officer of Patriot National,
                 Inc., in Further Support of Certain First Day Motions [Filed: 2/27/18] (Docket
                 No. 201).

        d.       [Signed] Second Interim Order (I) Authorizing the Continued Use of Cash
                 Management System, Bank Accounts and Business Forms, (II) Extending the
                 Debtors’ Time to Comply With Section 345(b) of the Bankruptcy Code,
                 (III) Approving Continuation of Ordinary Course Intercompany Transactions and
                 (IV) Granting Related Relief [Filed: 3/8/18] (Docket No. 315).

        e.       [Signed] Third Interim Order (I) Authorizing the Continued Use of Cash
                 Management System, Bank Accounts and Business Forms, (II) Extending the
                 Debtors’ Time to Comply With Section 345(b) of the Bankruptcy Code,
                 (III) Approving Continuation of Ordinary Course Intercompany Transactions and
                 (IV) Granting Related Relief [Filed: 4/9/18] (Docket No. 536).

        f.       Notice of Entry of Third Interim Order and Final Hearing Regarding Debtors’
                 Motion for Interim and Final Orders (I) Authorizing the Continued Use of Cash
                 Management System, Bank Accounts and Business Forms, (II) Extending the
                 Debtors’ Time to Comply With Section 345(b) of the Bankruptcy Code,
                 (III) Approving Continuation of Ordinary Course Intercompany Transactions and
                 (IV) Granting Related Relief [Filed: 4/9/18] (Docket No. 542).

        g.       [Signed] Fourth Interim Order (I) Authorizing the Continued Use of the Debtors’
                 Cash Management System, Bank Accounts and Business Forms, (II) Extending
                 the Debtors’ Time to Comply With Section 345(b) of the Bankruptcy Code,
                 (III) Approving Continuation of Ordinary Course Intercompany Transactions and
                 (IV) Granting Related Relief [Filed: 4/24/18] (Docket No. 654).

        Status: This matter will go forward on an interim basis. The Debtors will present a fifth
        interim order at the hearing.




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7.      Pass-Through Bank Account Motion: Debtors’ Motion for Entry of Interim and Final
        Orders (A) Authorizing Debtors to Continue Their Prepetition Practices With Respect to
        Their Pass-Through Bank Account and (B) Directing Banks to Honor Related Transfers
        [Filed: 1/30/18] (Docket No. 12).

        Response Deadline: April 2, 2018, at 4:00 p.m. ET

        Responses Received:

        a.       Declaration of Leonard D. Lerner, Counsel for IPFS Corporation of California
                 d/b/a IPFS Corporation in Response to Debtors’ Motion Authorizing Debtors to
                 Continue Their Prepetition Practices With Respect to Their Pass-Through Bank
                 Account [Filed: 2/21/18] (Docket No. 134).

        b.       Receiver of Ullico Casualty Company in Liquidation’s Limited Objection to
                 Debtors’ Motion for Entry of Interim and Final Orders (A) Authorizing Debtors to
                 Continue Their Prepetition Practices With Respect to Their Pass-Through Bank
                 Account and (B) Directing Banks to Honor Related Transfers [Filed: 2/21/18]
                 (Docket No. 140).

        c.       Omnibus Reservation of Rights of the Official Committee of Unsecured Creditors
                 [Filed: 2/26/18] (Docket No. 164).

        Related Documents:

        a.       [Proposed] Final Order (A) Authorizing Debtors to Continue Their Prepetition
                 Practices With Respect to Their Pass-Through Bank Account and (B) Directing
                 Banks to Honor Related Transfers [Filed: 1/30/18] (Docket No. 12, Exhibit B).

        b.       [Signed] Interim Order (A) Authorizing Debtors to Continue Their Prepetition
                 Practices With Respect to Their Pass-Through Bank Account and (B) Directing
                 Banks to Honor Related Transfers [Filed: 2/1/18] (Docket No. 55).

        c.       Declaration of James S. Feltman, Chief Restructuring Officer of Patriot National,
                 Inc., in Further Support of Certain First Day Motions [Filed: 2/27/18] (Docket
                 No. 201).

        d.       [Signed] Second Interim Order (A) Authorizing Debtors to (I) Continue Their
                 Prepetition Practices with Respect to Their Pass-Through Bank Account and (B)
                 Authorizing Banks to Honor Related Transfers [Filed: 3/8/18] (Docket No. 316).

        e.       [Signed] Third Interim Order (A) Authorizing Debtors to (I) Continue Their
                 Prepetition Practices with Respect to Their Pass-Through Bank Account and (B)
                 Authorizing Banks to Honor Related Transfers [Filed: 4/9/18] (Docket No. 537).

        f.       Notice of Entry of Third Interim Order and Final Hearing Regarding Debtors’
                 Motion for Entry of Interim and Final Orders (A) Authorizing Debtors to
                 Continue Their Prepetition Practices With Respect to Their Pass-Through Bank



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                 Account and (B) Directing Banks to Honor Related Transfers [Filed: 4/9/18]
                 (Docket No. 543).

        g.       [Signed] Fourth Interim Order (A) Authorizing Debtors to Continue Their
                 Prepetition Practices With Respect to Their Pass-Through Bank Account and
                 (B) Directing Banks to Honor Related Transfers [Filed: 4/24/18] (Docket No.
                 655).

        Status: This matter will go forward on an interim basis. The Debtors will present a fifth
        interim order at the hearing.

8.      Motion to Extend Stay of Litigation: Debtors’ Motion for an Order (I) Extending the
        Temporary Stay of Litigation of Claims Against the Debtors’ Directors and Officers and
        (II) Determining that the Debtors have Satisfied Alternative Dispute Resolution
        Requirements Under the Debtors’ Directors and Officers Insurance Policies [Filed:
        4/26/18] (Docket No. 677).

        Response Deadline: May 8, 2018 at 4:00 p.m. ET. (extended until May 11, 2018 for
        Douglas J. Von Allmen)

        Responses Received:

        a.       Hudson Bay Master Fund LTD’s Objection to Debtors’ Motion for an Order (I)
                 Extending the Temporary Stay of Litigation of Claims Against the Debtors’
                 Directors and Officers and (II) Determining that the Debtors have Satisfied
                 Alternative Dispute Resolution Requirements Under the Debtors’ Directors and
                 Officers Insurance Policies [Filed: 5/8/18] (Docket No. 712).

        b.       The Class Action Plaintiffs’ Response in Support of Debtors’ Motion for an Order
                 (I) Extending the Temporary Stay of Litigation of Claims Against the Debtors’
                 Directors and Officers and (II) Determining that the Debtors have Satisfied
                 Alternative Dispute Resolution Requirements Under the Debtors’ Directors and
                 Officers Insurance Policies [Filed: 5/8/18] (Docket No. 714).

        c.       Limited Objection of Certain D&O Insurers to Debtors’ Motion for an Order (I)
                 Extending the Temporary Stay of Litigation of Claims Against the Debtors’
                 Directors and Officers and (II) Determining that the Debtors have Satisfied
                 Alternative Dispute Resolution Requirements Under the Debtors’ Directors and
                 Officers Insurance Policies [Filed: 5/8/18] (Docket No. 716).

        d.       Joinder of CVI Investments, Inc., in Hudson Bay Master Fund LTD’s Objection
                 to Debtors’ Motion for an Order (I) Extending the Temporary Stay of Litigation
                 of Claims Against the Debtors’ Directors and Officers and (II) Determining that
                 the Debtors have Satisfied Alternative Dispute Resolution Requirements Under
                 the Debtors’ Directors and Officers Insurance Policies [Filed: 5/8/18] (Docket No.
                 717).




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        Reply Deadline: May 10, 2018 at 4:00 p.m. ET

        Replies Received:

        a.       Debtors’ Reply in Further Support of Motion for an Order (I) Extending
                 Temporary Stay of Claims Against the Debtors’ Directors and Officers and (II)
                 Determining that the Mediation Satisfies Alternative Dispute Resolution
                 Requirements Under the Debtors’ Directors and Officers Insurance Policies
                 [Filed: 5/10/18] (Docket No. 721).

        Related Documents:

        a.       [Proposed] Order Pursuant to 11 U.S.C. §§ 362 and 105 and Local Rules 9019-3
                 and 9019-5 (I) Extending Temporary Stay of Claims Against the Debtors’
                 Directors and Officers and (II) Determining that the Mediation Satisfies
                 Alternative Dispute Resolution Requirements Under the Debtors’ Directors and
                 Officers Insurance Policies [Filed: 4/26/18] (Docket No. 677, Exhibit A).

        b.       Notice of Debtors’ Motion for an Order (I) Extending the Temporary Stay of
                 Litigation of Claims Against the Debtors’ Directors and Officers and (II)
                 Determining that the Debtors have Satisfied Alternative Dispute Resolution
                 Requirements Under the Debtors’ Directors and Officers Insurance Policies
                 [Filed: 4/26/18] (Docket No. 678).

        c.       Notice of Filing Exhibits in Connection with Debtors’ Motion for an Order (I)
                 Extending the Temporary Stay of Litigation of Claims Against the Debtors’
                 Directors and Officers and (II) Determining that the Debtors have Satisfied
                 Alternative Dispute Resolution Requirements Under the Debtors’ Directors and
                 Officers Insurance Policies [Filed: 5/2/18] (Docket No. 698).

        Status: This matter will go forward.

PRE-TRIAL CONFERENCES:

9.      Cole v. Patriot National, Inc. et al.: Class Action Complaint for Violation of the
        WARN Act, 29 U.S.C. § 2101, et seq. [Filed: 2/1/18] (Adv. Pro. No. 18-50278, Docket
        No. 1).

        Response Deadline: April 30, 2018, at 4:00 p.m.

        Responses Received:

        a.       Answer to Class Action Complaint for Violation of the WARN Act, 29 U.S.C. §
                 2101, et seq. [Filed: 3/30/18] (Adv. Pro. No. 18-50278, Docket No. 4).




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        Related Documents:

        a.       Summons and Notice of Pre-Trial Conference in an Adversary Proceeding [Filed:
                 2/28/18] (Adv. Pro. No. 18-50278, Docket No. 3).

        b.       Notice of Rescheduled Conference [Filed: 4/10/18] (Adv. Pro. No. 18-50278,
                 Docket No. 6).

        c.       Certification of Counsel Submitting Scheduling Order [Filed: TBD] (Adv. Pro.
                 No. 18-50278, Docket No. TBD).

        Status: A proposed scheduling order will be filed under certification of counsel. If the
        proposed order is acceptable to the Court no status conference is needed at this time.

10.     Corporate Claims Management, Inc. v. Shaiper, et al.: First Amended Verified
        Complaint for Injunctive and Other Relief [Filed: 3/13/18] (Adv. Pro. No. 18-50307,
        Docket No. 5).

        Response Deadline: April 30, 2018, at 4:00 p.m. (extended until May 7, 2018 for
        Brentwood and Michelle Shaiper to file an Answer)

        Responses Received:

        a.       Answer of Defendant Brentwood Services Administrators, Inc. to Plaintiff’s First
                 Amended Complaint [Filed: 5/7/18] (Adv. Pro. No. 18-50307, Docket No. 20).

        b.       Answer and Affirmative Defenses of Michelle Shaiper to Plaintiff’s First
                 Amended Complaint [Filed: 5/7/18] (Adv. Pro. No. 18-50307, Docket No. 21).

        Related Documents:

        a.       Verified Complaint for Injunctive and Other Relief [Filed: 3/13/18] (Adv. Pro.
                 No. 18-50307, Docket No. 1).

        b.       Summons and Notice of Pre-Trial Conference in an Adversary Proceeding [Filed:
                 2/28/18] (Adv. Pro. No. 18-50307, Docket No. 3).

        c.       [Signed] Order Granting In Part Motion of Brentwood Service Administrators,
                 Inc., to Extend Response Deadline to First Amended Complaint [Filed: 5/1/18]
                 (Adv. Pro. No. 18-50307, Docket No. 15).

        d.       Notice of Completion of Briefing Regarding Defendant Michelle Shaiper’s
                 Motion to Extend Response Deadline to First Amended Complaint [Filed: 5/1/18]
                 (Adv. Pro. No. 18-50307, Docket No. 16).

        e.       [Signed] Order Granting In Part Motion to Extend Response Deadline to First
                 Amended Complaint [Filed: 5/1/18] (Adv. Pro. No. 18-50307, Docket No. 17).

        f.       Notice of Pre-Trial Conference [Filed: 5/2/18] (Adv. Pro. No. 18-50307, Docket
                 No. 18).

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        g.       Certification of Counsel Submitting Agreed Proposed Scheduling Order [Filed:
                 5/11/18] (Adv. Pro. No. 18-50307, Docket No. 26).

        Status: A proposed scheduling order has been filed under certification of counsel. If the
        proposed order is acceptable to the Court no status conference is needed at this time.


Dated: May 11, 2018                         PACHULSKI STANG ZIEHL & JONES LLP
      Wilmington, Delaware
                                            /s/ Peter J. Keane
                                            Laura Davis Jones (DE Bar No. 2436)
                                            James E. O’Neill (DE Bar No. 4042)
                                            Peter J. Keane (DE Bar No. 5503)
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                                              -and-

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                                            Counsel for the Debtors




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